271 F.2d 128
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.UNITED STEELWORKERS OF AMERICA, AFL-CIO, its Local Union4545, including Owen Girten, Robert Givens, andDorsie Childers, Respondents.
    No. 13917.
    United States Court of Appeals Sixth Circuit.
    Oct. 6, 1959.
    
      Marcel Mallet-Prevost, Thomas J. McDermott, Washington, D.C., for petitioner.
      David Clayman, Columbus, Ohio, for respondent.
      Before McALLISTER, Chief Judge, and MARTIN and MILLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The National Labor Relations Board having petitioned this Court on June 18, 1959, for enforcement of its order of March 17, 1959, directed against the above named respondents, and having thereafter on August 10, 1959, filed its motion for judgment on the pleadings,
    
    
      2
      On consideration whereof, it is ordered, adjudged and decreed by the United States Court of Appeals for the Sixth Circuit that the said order of the National Labor Relations Board in said proceeding be enforced, and that United Steelworkers of America, AFL-CIO, its Local Union 4545 and their officers, representatives, and agents, including respondents Owen Girten, robert Givens, and Dorsie Childers, abide by and perform the directions of the Board in said order contained.
    
    